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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-61097-CIV-MORENO

CARLOS MICHAEL GARCIA,

Plaintiff,

vs.
ENHANCED RECOVERY COMPANY LLC,

Defendant.
/

 

ORDER DISMISSING CASE WITHOUT PREJUDICE

THIS CAUSE came before the Court upon a sua sponte review of the record.

THE COURT has considered the pertinent portions of the record and the last recorded date of
various proceedings On September l7, 2018, the Court issued an Order to Show Cause why the
complaint in this case was not served in compliance with F ederal Rule of Civil Procedure 4(m). As of the
date of this Order, Plaintiff has not responded to the Court’s Order nor has a return of service been
docketed lt appears that Plaintiff filed the complaint on May 15, 2018, and service of the summons and
complaint has not been executed as of the date of this Order. Therefore, it is

ADJUDGED that this case is DISMISSED without prejudice for failure to serve the complaint in
compliance with Federal Rule of Civil Procedure 4(m). The Clerk of Court shall mark this case as
CLOSED and DENY all pending motions as moot. /_`

DONE AND ORDERED in Chambers at Miami, Florida, this j Sof September, 2015

      

FEDER . O
D STATES DISTRICT JUDGE

  

Copies furnished to:

Counsel of Record

